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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                    Petitioner,            )
                                           )
      v.                                   )   Case no. 8:22-cv-406
                                           )
CAPTIVE ALTERNATIVES, LLC,                 )
                                           )
                    Respondent.            )

    RESPONSE TO MOTION TO CONTINUE SHOW CAUSE HEARING

      The United States opposes the Respondent’s motion to continue the May 24,

2022 show cause hearing. The Respondent’s request will unnecessarily delay the

Internal Revenue Service’s investigation into whether the Respondent may be liable

for civil penalties related to its organization, promotion, and sale of a purported

insurance plan or arrangement. That investigation has already been hindered enough

by Respondent’s inaction. There is no good-faith basis for the Respondent’s request

for a continuance. Thus, its motion should be denied and the Court should maintain

the briefing schedule set forth in its March 16, 2022 order (ECF No. 4) and hold the

show-cause hearing on May 24, 2022.

                                    I. Background

      Approximately 18 months ago, on October 27, 2020, the IRS informed the

Respondent by letter that the IRS was investigating whether the Respondent is liable

for penalties under 26 U.S.C. § 6700. Section 6700 of the Internal Revenue Code



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impose penalties for, among other things, promoting abusive tax shelters. A penalty

may be assessed for each separate tax return, or transaction, or for separate activities,

related to each entity or arrangement involved. See, e.g., 26 U.S.C. § 6700(a)(2)

(“activities described in paragraph (1)(A) with respect to each entity or arrangement

shall be treated as a separate activity”).

       The IRS enclosed with its letter a draft request for the production of

documents and requested that the Respondent contact the IRS to discuss the draft

document request. The Respondent contacted the IRS and agreed to provide a

response by December 21, 2020. The IRS then issued the document request to the

Respondent in final form without any substantive changes. On December 20, 2020,

the Respondent requested an extension to comply until December 23, 2020. The IRS

granted the request. On December 23, 2020, the Respondent requested until

December 28, 2020 to comply. On December 28, 2020, the Respondent requested

until January 11, 2021 to comply. The IRS again granted the request. Thereafter, the

Respondent produced some, but not all, of the requested documents.

       On April 19, 2021, the IRS sent a draft of a second request for documents to

the Respondent for discussion. This request covered documents that the Respondent

failed to provide in response to the IRS’s first request and other additional

documents. On May 20, 2021, the IRS and the Respondent discussed the draft

request, and the Respondent agreed to provide a response by August 20, 2021. The

IRS then issued its second request for documents in final form without any



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substantive changes. On July 20, 2021, the Respondent objected to a portion of the

second document request.

      On October 14, 2021, the IRS issued the summons at issue in this case. The

documents requested in the summons mirror the documents that the IRS requested

in May 2021. The summons requested the production of records for the time period

from January 1, 2011 until the date of full compliance with the summons. The

Respondent failed to produce any documents in response to the summons. In a letter

dated November 2, 2021, the Respondent provided the IRS with its objections to the

summons.

      The United States filed this enforcement action on February 18, 2022. On

March 16, 2022, the Court set a show cause hearing for May 26, 2022 and a briefing

schedule, requiring the Respondent to respond to the petition on or before May 12,

2022, and the United States to file any responsive brief on or before May 20, 2022.

The Court subsequently moved the show cause hearing to May 24, 2022. On or

about April 5, 2022, the Respondent, for the first time, produced documents

responsive to the summons. Specifically, the Respondent produced 170 documents to

the United States that are responsive to a handful of the requests in the summons.

These are the only records that the Respondent has produced in response to the

summons, which was issued over six months ago and covers documents requested

more than a year ago.

      By letter dated April 13, 2022, counsel for the Respondent requested the



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United States’ views on a six-month continuance of the show cause hearing. By letter

dated April 18, 2022, counsel for the United States notified counsel for the

Respondent that it would not agree to a six-month continuance, but that it would

agree to a two-month continuance if the Respondent provided certain documents by

July 1, 2022. The Respondent refused. On May 3, 2022, more than two weeks after

the United States’ letter, and on the heels of its deadline to the respond to the

petition, the Respondent asked this Court for emergency relief from the briefing

schedule and another half-year to prepare for the show cause hearing.

                                       II. Argument

       The Court should deny the Respondent’s motion for a six-month continuance

of the show cause hearing for two reasons. First, summons enforcement proceedings

should proceed quickly so as to not delay the IRS’s investigation, and the

Respondent is merely attempting (as it has done in the past) to needlessly delay the

investigation. Second, the voluntary productions that the Respondent promises to

make would not obviate the need for a court order enforcing the summons, nor

narrow the issues before the Court.

          A. A half-year continuance of the show cause hearing would needlessly
             delay the IRS’s investigation.

       Section 7602 of the Internal Revenue Code (26 U.S.C.) authorizes the IRS to

issue a summons to “examine any books, paper, records or other data” that may be

relevant to determine or collect any tax, penalties, or interest. See, e.g., United States v.

Euge, 444 U.S. 707, 710-11 (1980); United States v. LaSalle Nat’l Bank, 437 U.S. 298,


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308 (1978). A summons is not self-enforcing. If a party refuses to comply with a

summons, 26 U.S.C. §§ 7402(b) and 7604(a) provide for an enforcement proceeding

in district court. See, e.g., United States v. Powell, 379 U.S. 48, 52 (1964). Thus,

obtaining a court order, backed by the Court’s contempt powers, is a necessary

enforcement procedure where a party refuses to comply (whether in whole or part)

with an IRS summons.

       Importantly, summons enforcement proceedings are summary in nature, and

“‘should be concluded quickly, so that the investigation may advance toward the

ultimate determination of civil or criminal liability, if any.’” In re E.E.O.C., 709 F.2d

392, 399 (5th Cir. 1983) (quoting United States v. Kis, 658 F.2d 526, 535 (7th Cir.

1981)); see also LaSalle Nat. Bank, 437 U.S. at 316; United States v. Judicial Watch, Inc.,

241 F. Supp. 2d 15, 18 (D.D.C. 2003); United States v. No Name Video, Ltd., 978 F.2d

1257, 1992 WL 295171, at *4 (4th Cir. 1992) (“Such a practice is consistent with the

goal of concluding summons enforcement proceedings quickly, so that the IRS’s

investigation will not be delayed.”).

       Here, the IRS has been attempting to obtain records that may be relevant to its

investigation from the Respondent for nearly 17 months without success. After two

failed attempts to obtain records, the IRS issued a summons to the Respondent on

October 14, 2021 requesting the production of records on or before November 2,

2021. The Respondent again refused to produce the records. Now, the Respondent

needlessly seeks to further delay this investigation by at least an additional six



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months. In practice, the delay will be much longer, because that is merely the period

that the hearing would be continued; the Court will still require additional time to

consider the pleadings and enter an order (or a report and recommendation, followed

by possible objections), and the Respondent will then require time to produce any

responsive records it may be ordered to produce. 1

      There is no good-faith basis to continue the hearing. Merely producing 170

documents—onlv after the Court scheduled the show-cause hearing—does not

demonstrate that the Respondent will now comply with the summons without a

court order. 2 To the contrary, in November 2021, the Respondent submitted to the

IRS its objections to the summons, and it has not withdrawn those objections. Since

then, there has been no indication that the Respondent intends to fully comply with

the summons. If that were the case, the Respondent could simply file a response to

the petition stating that it has no objection to enforcement of the summons. The


1
 The United States, of course, does not seek the production of all responsive records
at the hearing on May 24. The United States asks the Court to enter an order
enforcing the summons and setting a deadline for the Respondent to produce
responsive records. This procedure inherently further delays the IRS’s investigation.
The matter has been referred to a Magistrate Judge, who will likely issue a report and
recommendation. The parties then have 14 days to file any objections, and another
14 days to file any responses to objections. As a result, it may be late summer or
early fall (or later) before a final enforceable order is entered. The timeframe for the
production of responsive records will necessarily follow that.
2
  The Respondent has had since at least October 2021 to begin producing records
responsive to the summons, many of which were also identified in prior document
requests that the IRS issued. The upcoming hearing has spurred the Respondent to
take some action. For this additional reason, the Court should not continue the show
cause hearing.

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Court could then enter an order enforcing the summons. But the Respondent has not

indicated—at any time—that it does not object to the summons.

      B. The voluntary productions that the Respondent promises to make will
not narrow the issues before the Court.

      The Respondent claims that it is in the process of producing documents in

response to “the majority of Summons categories.” (ECF No. 17 at 7.) But it fails to

demonstrate how productions of anything less than all documents responsive to the

summons justify a half-year continuance of the show cause hearing. The Respondent

readily admits that the parties take vastly different positions on whether certain

categories of documents requested in the summons are enforceable. And the

Respondent acknowledges that any voluntary productions it makes will not avoid the

need for litigation. (See ECF No. 17 at 3.) Instead, the Respondent argues that its

voluntary productions will substantially narrow the issues before the Court and

preserve the Court’s resources. The Respondent is wrong for two reasons.

      First, whether the Court holds the show cause hearing now or six months

from now, it will need to decide if the IRS’s summons is enforceable in seeking

documents covering the time period indicated in the summons: January 1, 2011 to

the date of full compliance with the summons. The Respondent makes much of the

fact that it has produced or will produce some (but not all) records for the time

periods 2011, 2012, part of 2013, and 2015-2020. But the Respondent has refused to

produce documents for part of 2013, 2014, 2021, and 2022. Whether the summons is

enforceable with respect to those time periods will not change six months from now.


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With respect to the time periods that the parties agree upon, no action will be

required by the Court beyond including the parties’ agreement with respect to those

productions in its order and ordering a production timeline.

      Second, whether the Court holds the show cause hearing now or six months

from now, it will need to decide whether the document requests that the Respondent

objects to should be enforced. Tellingly, the Respondent does not argue that it needs

time to craft its objections in this regard. The Respondent has known since

November 2021, when it submitted its objections to the summons to the IRS, which

document requests it challenges. Perhaps just as important, in its motion to continue,

the Respondent only agrees to produce self-selected documents responsive to

selective document requests for a selective time period. But its self-selected

productions will not obviate the need for the Court to decide which document

requests are enforceable because we seek all of the documents requested in the

summonses, not just what the Respondent is unilaterally willing to produce at a time

of its choosing. The Respondent’s proposal is just not the way summons enforcement

proceedings work. And, again, for the document requests that the Respondent does

not object to, no action will be required by the Court to enforce those productions

beyond ordering a date for production. In short, the Respondent must bring its

objections to the Court’s attention. There is no reason why those objections cannot,

or should not, be raised by May 24, 2022, rather than six months later while the

Respondent produces what it wants, when it wants and delays this investigation



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further.

       Finally, the Respondent’s contention that third-party productions from

separate summons enforcement lawsuits could obviate the need to enforce the

summons here is wholly unsupported by caselaw. The Respondent’s position is that

the Court should wait and see whether others produce documents to the IRS and

then order the Respondent to produce any records that are missing. That is, again,

not how summons enforcement works. The IRS is entitled to obtain documents from

multiple sources to compare records for accuracy, to determine whether a production

is complete, and to review original or primary documents. See United States v. Luther,

481 F.2d 429, 432 (9th Cir. 1973); Sugarloaf Funding, LLC v. U.S. Dept. of Treasury,

584 F.3d 340, 350 (1st Cir. 2009). Moreover, as the Respondent is aware, the IRS

has not obtained any documents from the third parties they reference. For example,

while the IRS issued a summons to Pinnacle Actuarial Resources, Inc. seeking

documents as part of its investigation into the potential liabilities of Captive

Alternatives, LLC, Pinnacle did not produce any responsive documents. Rather, the

United States was forced to file a summons enforcement action. The show-cause

hearing in that case is set for June 9, 2022, and it may be several months before

Pinnacle produces any responsive records. Waiting to see what happens in other

summons enforcement lawsuits flies in the face of the well-established “goal of

concluding summons enforcement proceedings quickly, so that the IRS’s

investigation will not be delayed.” No Name Video, Ltd., 1992 WL 295171, at *4.



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                                    III. Conclusion

       The Respondent has had more than six months to make productions

 responsive to the summons. It only started making productions of documents after

 the Court issued an order scheduling the show cause hearing. Its conveniently timed

 promise to start making self-selected document productions will not narrow the

 issues for the Court’s consideration in any meaningful way. The Court should

 decline the Respondent’s invitation to further delay the inevitable.


       Dated: May 6, 2022                Respectfully submitted,

                                         ROGER B. HANDBERG
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                        CERTIFICATE OF SERVICE

       IT IS HEREBY CERTIFIED that service of the foregoing document has been
 made through the Court’s CM/ECF system on May 6, 2022.



                                           /s/ Lauren A. Darwit
                                           LAUREN A. DARWIT
                                           Trial Attorney, Tax Division




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